        Case 3:14-cv-00165-JD Document 44 Filed 07/09/14 Page 1 of 2



1    GUTRIDE SAFIER LLP
2    ADAM J. GUTRIDE (State Bar No. 181446)
      adam@gutridesafier.com
3    SETH A. SAFIER (State Bar No. 197427)
      seth@gutridesafier.com
4
     TODD KENNEDY (State Bar No. 250267)
5     todd@gutridesafier.com
     MARIE A. MCCRARY (State Bar No. 262670)
6
       marie@gutridesafier.com
7    835 Douglass Street
     San Francisco, California 94114
8
     Telephone: (415) 789-6390
9    Facsimile: (415) 449-6469

10
     Attorneys for Plaintiff
11

12
                           UNITED STATES DISTRICT COURT
13
                        NORTHERN DISTRICT OF CALIFORNIA
14
     INNOVATIVE AUTOMATION LLC,                  Case No. 3:14-cv-00165-JD
15
                               Plaintiff,        ORDER OF DISMISSAL WITH PREJUDICE
16
              v.
17
     MEDIANAVICO LLC,
18
                               Defendant.
19

20

21       Plaintiff Innovative Automation LLC and Defendant MediaNaviCo LLC have
22   resolved all the claims and counterclaims between them in this litigation and jointly
23   stipulate to the dismissal of same. Therefore, it is ORDERED that all of Innovative
24   Automation’s claims brought in this litigation against MediaNaviCo LLC are dismissed
25   with prejudice. Each party shall bear its own attorneys’ fees and costs.

26

27

28
        Case 3:14-cv-00165-JD Document 44 Filed 07/09/14 Page 2 of 2



1

2    IT IS SO ORDERED.
3

4    Dated: July 7, 2014
5

6
                                        ______________________________
7                                         Hon. James Donato
                                          U.S. District Judge
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
